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June 14, 2018

VIA ECF FILING
The Honorable Vanessa L. Bryant
United States District Court Judge
District of Connecticut
Abraham Ribicoff Federal Building
United States Courthouse
450 Main Street – Annex 135
Hartford, Connecticut 06103

Re:     Graduation Solutions LLC v. Acadima, LLC and Alexander Loukaides
        Index No. 3:17-cv-1342

Dear Judge Bryant:

This firm represents Plaintiff Graduation Solutions LLC (“Graduation Solutions”). I write to object to
Defendant Alexander Loukaides’s letter of June 14, 2018 (“Loukaides Letter”).

Specifically, the third and fourth paragraphs of the Loukaides Letter amount to an impermissible sur-
reply with regard to the motion to dismiss filed by Loukiadies (ECF Doc. No. 36). In this regard, I
respectfully request that the Court disregard the argument inappropriately contained in the Loukaides
Letter. In turn, I will simply point out that Graduation Solutions’s opposition to the motion to dismiss
more than sufficiently addresses those arguments and I will rest thereon.

Accordingly, Plaintiff still seeks the guidance of the Court with respect to proceeding with obtaining
discovery from Defendant Loukaides so that discovery can be completed in accordance with the dates
set by the Court in to Your Honor’s Amended Scheduling Order (ECF Doc. No. 45).

Thank you for your consideration of this matter.

Respectfully submitted,


Jonathan B. Nelson
JBN/abr

cc:     Kathryn Rose Sylvester, Esq.
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